                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 1 of 18



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                                                                10   FACEBOOK, INC.

                                                                11
                                                                                               UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                                   SAN FRANCISCO DIVISION
                                                                14
                                                                      FACEBOOK, INC., a Delaware                 CASE NO.: 3:19-CV-07971
                                                                15    corporation,
                                                                16                                               COMPLAINT; DEMAND FOR
                                                                                   Plaintiff,                    JURY TRIAL
                                                                17
                                                                18          v.

                                                                19    ILIKEAD MEDIA
                                                                20    INTERNATIONAL COMPANY
                                                                      LTD., CHEN XIAO CONG, and
                                                                21    HUANG TAO,
                                                                22
                                                                                   Defendants.
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                                                                                                                                          3:19-CV-07971
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 2 of 18



                                                                1          Plaintiff Facebook, Inc. alleges the following:
                                                                2                                      INTRODUCTION
                                                                3          1.     Beginning no later than 2016 and continuing until at least August 2019,
                                                                4    Defendants ILikeAd Media International Company Ltd., Chen Xiao Cong, and Huang
                                                                5    Tao participated in a deceptive advertising scheme targeting Facebook and its users.
                                                                6    Specifically, Defendants deceived internet users into installing software for their
                                                                7    internet browsers that contained malware along with a plugin or browser extension
                                                                8    (“the malicious extension”). The malicious extension was available on the internet
                                                                9    and was not installed as a result of visiting or using Facebook. After the victims self-
                                                                10   compromised their browsers, the malware enabled Defendants to access their victims’
                                                                11   Facebook accounts and takeover their ad accounts, a practice known as “account take
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                                                                12   over fraud.” Defendants then used the accounts to run ads without the Facebook
                                                                13   users’ knowledge or consent.
                                                                14         2.     Defendants ran a number of deceptive ads on Facebook using a malicious
                                                                15   technique known as “cloaking,” which concealed the true nature of the ad from
                                                                16   Facebook’s ad review process and allowed Defendants to market goods in violation of
                                                                17   Facebook’s Terms of Service and Advertising Policy. Since April 2019, Facebook
                                                                18   has notified hundreds of thousands of users that their Facebook accounts may have
                                                                19   been compromised, and it has required those users to verify their identity and change
                                                                20   their Facebook account passwords.
                                                                21         3.     Accordingly, Facebook brings this action for injunctive relief to stop
                                                                22   Defendants’ misuse and abuse of the Facebook platform in violation of Facebook’s
                                                                23   Terms of Service and Advertising Policies. Facebook also brings this action to obtain
                                                                24   compensatory, punitive, and exemplary damages in response to Defendants’ violations
                                                                25   of California Comprehensive Computer Data Access and Fraud Act, § 502, the
                                                                26   Computer Fraud and Abuse Act, 18 U.S.C. § 1030, and breach of contract.
                                                                27
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 3 of 18



                                                                1                                           PARTIES
                                                                2          4.     Plaintiff Facebook, Inc., is a Delaware corporation with its principal
                                                                3    place of business in Menlo Park, San Mateo County, California.
                                                                4          5.     Defendant ILikeAd Media International Company Ltd. (“ILikeAd”) was
                                                                5    a Hong Kong-based advertising company that used the website ILikeAd.com.1 Ex. 1
                                                                6    and 2. On its website, ILikeAd promoted itself as a “one-stop comprehensive solution
                                                                7    to advertisers” providing advertising and marketing services to businesses interested
                                                                8    in advertising on Facebook. Id. On information and belief, ILikeAd provided affiliate
                                                                9    marketing services and profited from commissions for sales resulting from internet
                                                                10   traffic that they delivered to their customers. Id.
                                                                11         6.     Defendant Cong was a software developer located in Wuhan, Hubei,
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                                                                12   China.
                                                                13         7.     Defendant Huang Tao was a marketing director at an entity called
                                                                14   GuangZhou HongYi Technology Company Ltd. (“HongYi Technology”) located in
                                                                15   Guangzhou, Guangdong, China. Ex. 3. ILikeAd and HongYi Technology were
                                                                16   affiliated entities that share the same Chief Executive Officer. Exs. 4 and 5. Tao used
                                                                17   the aliases “staoism” and “staosim.”
                                                                18         8.     At all times material to this action, each Defendant was the agent,
                                                                19   employee, partner, alter ego, subsidiary, or co-conspirator of and with the other
                                                                20   Defendant, and the acts of each Defendant were in the scope of that relationship. In
                                                                21   doing the acts and failing to act as alleged in this Complaint, each Defendant acted
                                                                22   with the knowledge, permission, and the consent of each of the other Defendant, and
                                                                23   each Defendant aided and abetted the other Defendant in the acts or omissions alleged
                                                                24   in this Complaint.
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                                                                      Defendants used the website ILikeAd.com between 2016 and 2017. The website is
                                                                     not presently used to promote marketing services by Defendants.
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                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 4 of 18



                                                                1                               JURISDICTION AND VENUE
                                                                2          9.     The Court has federal question jurisdiction over the federal causes of
                                                                3    action alleged in this complaint pursuant to 28 U.S.C. § 1331.
                                                                4          10.    The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the
                                                                5    state law causes of action alleged in this complaint because they arise out of the same
                                                                6    nucleus of operative fact as Facebook’s federal claims.
                                                                7          11.    In addition, the Court has jurisdiction under 28 U.S.C. § 1332 over all
                                                                8    causes of action alleged in this complaint because complete diversity exists and the
                                                                9    amount in controversy exceeds $75,000.
                                                                10         12.    The Court has personal jurisdiction over Defendants because they
                                                                11   knowingly directed and targeted their conduct at California, individual California
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                                                                12   residents, and at Facebook, which has its principal place of business in California. By
                                                                13   accessing Facebook, using Facebook, and running ads on Facebook, Defendants
                                                                14   transacted business and engaged in commerce in California. Defendants also used
                                                                15   computers located in California to facilitate their conduct and victimized California
                                                                16   residents. Facebook’s claims arise directly from and relate to Defendants’ activities
                                                                17   described in this Complaint.
                                                                18         13.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),
                                                                19   as the threatened and actual harm to Plaintiff occurred in this District. Venue is also
                                                                20   proper with respect to each Defendant pursuant to 28 U.S.C. §1391(c)(3) because
                                                                21   none of them reside in the United States.
                                                                22         14.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                23   Francisco or Oakland division because Facebook is located in San Mateo County.
                                                                24                               FACTUAL ALLEGATIONS
                                                                25         A.     Background
                                                                26                1.    Advertising on Facebook
                                                                27         15.    Facebook is a social networking website and mobile application that
                                                                28   enables its users to create their own personal profiles and connect with each other on

                                                                                                                 3                              3:19-CV-07971
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 5 of 18



                                                                1    their personal computers and mobile devices. As of October 2019, Facebook daily
                                                                2    active users averaged 1.62 billion and monthly active users averaged 2.44 billion.
                                                                3          16.    Anyone with a Facebook account and page can create an ad account,
                                                                4    through which users can create and place ads on Facebook. Every week, users create
                                                                5    millions of ads through the Facebook ad platform, which provides advertisers with
                                                                6    many options for reaching their target audiences, so long as they comply with
                                                                7    Facebook’s Policies.
                                                                8          17.    To pay for their ads, advertisers can input and maintain credit card or
                                                                9    other payment information on file in their ad accounts. Financial information saved to
                                                                10   a Facebook account, like credit card numbers, is stored securely and only the last four
                                                                11   digits of the credit or debit card is visible to the user or others accessing a user’s
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                                                                12   account.
                                                                13         18.    To create and publish an ad, an advertiser must agree to Facebook’s
                                                                14   Terms of Service, Self-Serve Ad Terms, Commercial Terms, and Advertising Policies.
                                                                15   Advertisers are also subject to Facebook’s Community Standards, among other terms
                                                                16   and conditions.
                                                                17         19.    Ads are subject to Facebook’s ad review system, which relies primarily
                                                                18   on automated tools that review ads for compliance with Facebook’s Advertising
                                                                19   Policies. This automated review happens before an ad can run. Ads may also be
                                                                20   subject to additional review after they are published, depending on user feedback and
                                                                21   other indicators.
                                                                22         20.    If the ad review process identifies a policy violation, the ad will be
                                                                23   rejected and the advertiser will receive a rejection message. Some ads are flagged by
                                                                24   the automated ad review system for manual human review. If the ad review system
                                                                25   does not detect a policy violation, the advertiser will receive a notification confirming
                                                                26   that the ad will begin running.
                                                                27         21.    Facebook can also take a range of enforcement actions against an
                                                                28   advertiser who violates the Advertising Policies, including banning an ad account

                                                                                                                  4                                 3:19-CV-07971
                                                                                                 COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 6 of 18



                                                                1    from running ads. To detect recidivism, Facebook analyzes the characteristics of ads
                                                                2    and accounts to identify accounts that may be associated with previously identified
                                                                3    bad actors.
                                                                4                  2.    Cloaking
                                                                5          22.     One of the components reviewed by the ad review system is the website
                                                                6    landing page a person will see if they click on an ad. If the landing page violates
                                                                7    Facebook’s Terms or Advertising Policies, the ad will be rejected.
                                                                8          23.     “Cloaking” is a malicious technique used by advertisers to circumvent
                                                                9    various ad review processes in order to show content on a landing page that violates
                                                                10   Facebook’s Terms and Advertising Policies.
                                                                11         24.     In particular, cloaking disguises the true landing page for an ad and the
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                                                                12   actual content of the landing page, in order to circumvent Facebook’s review process.
                                                                13   A “cloaked” landing page used in an ad will display content to Facebook’s automated
                                                                14   and manual review systems that differs from that shown to actual Facebook users.
                                                                15   The landing page displayed to the review system will promote content that falls within
                                                                16   the bounds of the Advertising Policy, when in fact, the true landing pages displayed to
                                                                17   users frequently promote deceptive products and services and display disallowed
                                                                18   images. The true landing pages will frequently include ads for deceptive diet pills and
                                                                19   cryptocurrency investments and images of sexual content.
                                                                20         B.      Facebook’s Terms and Advertising Policies
                                                                21         25.     All Facebook users must agree to Facebook’s Terms of Service
                                                                22   (“Terms”) (available at https://www.facebook.com/terms.php) and other rules that
                                                                23   govern access to, and use of, Facebook. Those Terms include Facebook’s Advertising
                                                                24   Policies.
                                                                25         26.     Section 3.2.1 of the Terms prohibits users from “do[ing] . . . anything
                                                                26   unlawful, misleading, [ ] or fraudulent.” Section 3.2.2 of the Terms, in turn, prohibits
                                                                27   users from “upload[ing] viruses or malicious code,” as well as “anything that could
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                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 7 of 18



                                                                1    disable, overburden, or impair the proper working or appearance of [Facebook]
                                                                2    Products.”
                                                                3          27.    Section 3.2.3 of the Terms prohibits users from “access[ing] or
                                                                4    collect[ing] data from [Facebook] Products using automated means (without our prior
                                                                5    permission) or attempt[ing] to access data you do not have permission to access.”
                                                                6          28.    Under Section 4.2, Section 3 of the Terms stay in effect even if a user’s
                                                                7    account is disabled or the user deletes the account.
                                                                8          29.    Advertising Policy 4.13 (available at
                                                                9    https://www.facebook.com/policies/ads/) prohibits “ads, landing pages, and business
                                                                10   practices” from “contain[ing] deceptive, false, or misleading content, including
                                                                11   deceptive claims, offers, or methods.”
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                                                                12         30.    Advertising Policy 4.28 prohibits “tactics intended to circumvent our ad
                                                                13   review process or other enforcement systems,” including “techniques that attempt to
                                                                14   disguise the ad’s content or destination page,” as well as “[r]estrict[ing] Facebook’s
                                                                15   access to an ad’s destination page.”
                                                                16         31.    Advertising Policy 4.32 prohibits ads that “promote products, services,
                                                                17   schemes or offers using deceptive or misleading practices.”
                                                                18         C.     Defendants’ Scheme
                                                                19                1.    Overview
                                                                20         32.    Beginning no later than 2016, Defendants jointly engaged in an account
                                                                21   take over fraud scheme targeting Facebook and its users. Defendants’ scheme
                                                                22   proceeded as follows:
                                                                23                a.    First, Defendant Cong developed the malware, which was designed
                                                                24   to compromise computers and take over Facebook ad accounts. Defendant ILikeAd
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 8 of 18



                                                                1    registered two domains that were encoded in the malware as command and control
                                                                2    servers2 (“C2”).
                                                                3                 b.      Second, between 2016 and 2019, Defendant Tao, on behalf of
                                                                4    Defendant ILikeAd, promoted the distribution and installation of the malicious
                                                                5    extension online through various forums and websites. When victims installed the
                                                                6    malicious extension, they self-compromised their computers with Defendants’
                                                                7    malware. In the case of Facebook users, the malware collected and exfiltrated
                                                                8    Facebook login information from the victims’ computers or browsers, thereby
                                                                9    allowing Defendants to access the victims’ Facebook accounts.
                                                                10                c.      Third, Defendant Cong designed the malware to disable the
                                                                11   accounts’ security notifications in order to conceal Defendants Tao and ILikeAd’s
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                           550 South Hope Street, Suite 2000
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                                                                12   access and use of the Facebook accounts from the victim. The malware also enabled
                                                                13   Defendants to run ads with the victims’ Facebook ad accounts and paid for the ads
                                                                14   using the victims’ payment information. In some instances, Defendants ran deceptive
                                                                15   ads using the images of certain types of celebrities.
                                                                16                d.      Fourth, Defendants used cloaking software and services to avoid
                                                                17   Facebook’s ad review process. Defendants ran deceptive ads that redirected Facebook
                                                                18   users to landing pages associated with counterfeit goods, male enhancement
                                                                19   supplements, and diet pills, which violated Facebook’s Advertising Policies.
                                                                20                2.      Development and Functionality of the Malware
                                                                21         33.    Beginning no later than May 2016, Defendant Cong used a Github
                                                                22   repository to host and develop portions of the source code for the malware. Defendant
                                                                23   ILikeAd registered two domains that were encoded in the malware to connect to the
                                                                24   C2s. Exs. 6 and 7.
                                                                25
                                                                26
                                                                27   2
                                                                      A command-and-control server is a computer controlled by a malicious actor that is
                                                                28   used to send commands to computers compromised by malware and serve other
                                                                     functions.
                                                                                                                7                             3:19-CV-07971
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 9 of 18



                                                                1          34.    Defendant Cong designed the malware to (a) compromise victims’
                                                                2    computers and collect information from infected computers, and (b) access and take
                                                                3    over Facebook ad accounts, if the victims had an ad account. After a victim installed
                                                                4    the malicious extension, the malware executed unauthorized commands on the
                                                                5    compromised computer in order to locate, copy, and exfiltrate user credentials,
                                                                6    including Facebook credentials and cookies, saved to the compromised computer’s
                                                                7    internet browser (collectively “access information”). Defendants used this access
                                                                8    information to access Facebook accounts without authorization of the victims or
                                                                9    Facebook.
                                                                10         35.    Defendants used their unauthorized access to the victims’ accounts to run
                                                                11   ads on Facebook and obtain unauthorized payments for the ads. Defendants used the
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                                                                12   malware to extract data that showed whether the victims had an ad account, had
                                                                13   previously paid for ads, the amount spent on ads, and the balance on the victim’s ad
                                                                14   account. Defendants used the payment and ad account information to run ads on
                                                                15   Facebook.
                                                                16         36.    Defendants used multiple C2s to obtain data from compromised
                                                                17   computers. Defendants’ C2 domain names were encoded into the malware and
                                                                18   included the following domains: api2019.com, api.new-api.com,
                                                                19   api.kkkkdajlhlkjhsdewgtuv.com, api168168.com, pcmaps.net, and downmaps.com.
                                                                20         37.    Defendant Cong designed the malware to execute a number of steps in
                                                                21   order to maintain their control of the victims’ accounts and to conceal their
                                                                22   unauthorized activity. First, the malware turned off user notifications, which
                                                                23   prevented victims from learning that (a) their account was accessed from an
                                                                24   unrecognized device and browser; and (b) that their ad account had been used to run
                                                                25   Facebook ads. Second, the malware locked in the changes made to the notification
                                                                26   settings, preventing the victims from reverting or otherwise altering them.
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 10 of 18



                                                                1                 3.    Distribution and Installation of the Malware
                                                                2          38.    Defendants caused the installation of their malware on victims’
                                                                3    computers when victims installed the malicious extensions online. The malware was
                                                                4    not installed, nor were the victims’ computers compromised, as a result of visiting,
                                                                5    accessing, or using Facebook.
                                                                6          39.    Defendants caused the malware to be installed by bundling it with other
                                                                7    software downloads. To increase the likelihood that their malware was successfully
                                                                8    installed on a victim’s computer, the software bundles contained (a) the complete
                                                                9    malware executable, and (b) a downloader and corrupted DLL (dynamic link library)
                                                                10   file used to “hijack” the legitimate DLL process of chromium-based applications (e.g.
                                                                11   Chrome, Opera), an attack called “DLL hijacking.” DLL hijacking caused the
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                                                                12   malware to be downloaded and installed from a domain that hosted the malware
                                                                13   executable, commonly referred to as the “payload.” Domains that hosted the malware
                                                                14   payload included: down.kaidandll.com, down.dll-biu.com, and
                                                                15   down.biubiudown.com, among others.
                                                                16         40.    Defendants also used a web-based code repository and hosting service to
                                                                17   host the malware. The malware executables were added to the repository using two
                                                                18   Google IP addresses physically located in the Northern District of California.
                                                                19         41.    Between 2016 and 2019, Defendant Tao promoted the installation of
                                                                20   Defendants’ malicious extension on various forums and websites using the aliases
                                                                21   “staoism” and “staosim.” Exs. 8, 9, 10, 11, and 12.
                                                                22                4.    Unauthorized Advertisements and Cloaking
                                                                23         42.    If the compromised Facebook account had an ad account, Defendants
                                                                24   used it to publish ads through the compromised account without the victim’s
                                                                25   knowledge or consent. Those ads were billed to the victim’s ad account.
                                                                26         43.    Defendants’ advertisements used cloaking to circumvent Facebook’s
                                                                27   content policy and review process. As a result, certain users that clicked on the
                                                                28   cloaked ads were redirected to a website that was different than the website shown in

                                                                                                                9                               3:19-CV-07971
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 11 of 18



                                                                1    the advertisement. Defendants’ unauthorized advertisements marketed counterfeit
                                                                2    goods, male enhancement supplements, and diet pills.
                                                                3            D.    Defendants Unjustly Enriched Themselves and Their Unlawful Acts
                                                                4                  Have Caused Damage and a Loss to Facebook.
                                                                5            44.   Defendants interfered with and continue to interfere with Facebook’s
                                                                6    computer network, and they have negatively impacted the Facebook experience for
                                                                7    users whose accounts were affected by their fraud.
                                                                8            45.   Defendants’ breaches of Facebook’s Terms and Advertising Policies, as
                                                                9    well as their violations of state and federal law, have caused Facebook substantial
                                                                10   harm.
                                                                11           46.   Defendants’ actions injured Facebook’s reputation, public trust, and
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                                                                12   goodwill.
                                                                13           47.   Facebook has suffered damages and a loss attributable to Defendants,
                                                                14   including the efforts and resources it has used to address this Complaint, investigate
                                                                15   and mitigate Defendants’ illegal conduct, and attempt to identify, analyze, and stop
                                                                16   Defendants’ injurious activities. Facebook has paid over $4 million to Defendants’
                                                                17   victims in order to reimburse them for the unauthorized ads purchased using their ads
                                                                18   accounts.
                                                                19           48.   Defendants have been unjustly enriched by their activities at the expense
                                                                20   of Facebook in an amount to be determined at trial.
                                                                21                               FIRST CAUSE OF ACTION
                                                                22                                     (Breach of Contract)
                                                                23           49.   Facebook realleges and incorporates all preceding paragraphs.
                                                                24           50.   Access to and use of Facebook’s services is governed by Facebook’s
                                                                25   Terms and its related policies.
                                                                26           51.   Defendants agreed to and became bound by Facebook’s Terms and
                                                                27   related policies through their use of Facebook and its services.
                                                                28

                                                                                                               10                               3:19-CV-07971
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 12 of 18



                                                                1          52.     Facebook has performed all conditions, covenants, and promises required
                                                                2    of it in accordance with its agreement with Defendants.
                                                                3          53.     Defendants knowingly breached Facebook’s Terms and Advertising
                                                                4    Policies.
                                                                5          54.     Defendants’ violations of Facebook’s Terms and Advertising Policies
                                                                6    have directly and proximately caused and continue to cause harm and injury to
                                                                7    Facebook.
                                                                8          55.     When Defendants agreed to, and became bound by, Facebook’s Terms
                                                                9    and Advertising Policies, both Facebook and Defendants knew or reasonably could
                                                                10   have foreseen that the harm and injury to Facebook was likely to occur in the ordinary
                                                                11   course of events as a result of Defendants’ breach.
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                                                                12         56.     Defendants’ breaches of Facebook’s Terms and Advertising Policies
                                                                13   have caused Facebook damages in an amount to be determined at trial, and in excess
                                                                14   of $75,000.
                                                                15                              SECOND CAUSE OF ACTION
                                                                16                                (California Penal Code § 502)
                                                                17         57.     Facebook realleges and incorporates all preceding paragraphs.
                                                                18         58.     Defendants knowingly accessed and without permission used Facebook’s
                                                                19   data, computers, computer system, and computer network in order to (A) devise or
                                                                20   execute a scheme or artifice to defraud and deceive, and (B) to wrongfully control or
                                                                21   obtain money, property, or data, in violation of California Penal Code § 502(c)(1).
                                                                22         59.     Defendants knowingly and without permission used or caused to be used
                                                                23   Facebook’s computer services in violation of California Penal Code § 502(c)(3).
                                                                24         60.     Defendants knowingly and without permission disrupted or caused the
                                                                25   disruption of computer services and denied or caused the denial of computer services
                                                                26   to one or more authorized users of Facebook’s computers, computer systems, and
                                                                27   computer networks in violation of California Penal Code § 502(c)(5). More
                                                                28   specifically, as described above, Defendants’ malware modified user notifications

                                                                                                               11                              3:19-CV-07971
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                            Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 13 of 18



                                                                1    without permission in order to prevent users from learning that their accounts were
                                                                2    being used without permission.
                                                                3            61.   Defendants knowingly and without permission accessed or caused to be
                                                                4    accessed with Facebook access information obtained from the malware Facebook’s
                                                                5    computers, computer systems, and computer networks in violation of California Penal
                                                                6    Code § 502(c)(7).
                                                                7            62.   Because Facebook suffered damages and a loss as a result of Defendants’
                                                                8    actions and continues to suffer damages as result of Defendants’ actions, Facebook is
                                                                9    entitled to compensatory damages, attorney’s fees, and any other amount of damages
                                                                10   to be proven at trial, and injunctive relief under California Penal Code § 502(e)(1) and
                                                                11   (2).
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                                                                12           63.   Because Defendants willfully violated Section 502, and there is clear and
                                                                13   convincing evidence that Defendants committed “fraud” as defined by section 3294 of
                                                                14   the Civil Code, Facebook is entitled to punitive and exemplary damages under
                                                                15   California Penal Code § 502(e)(4).
                                                                16                                THIRD CAUSE OF ACTION
                                                                17                     (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                18           64.   Facebook realleges and incorporates all preceding paragraphs.
                                                                19           65.   Facebook computers and servers were “protected computers” as defined
                                                                20   by 18 U.S.C. § 1030(e)(2).
                                                                21           66.   Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and
                                                                22   with intent to defraud, accessed Facebook’s protected computers and by means of
                                                                23   such conduct furthered the intended fraud and obtained something of value.
                                                                24   Defendants accessed Facebook protected computers purporting to be legitimate
                                                                25   Facebook users when in fact they had compromised the users’ computers with
                                                                26   malware designed to transmit unauthorized commands to Facebook. Defendants used
                                                                27   their unauthorized access for the purpose of furthering their fraudulent advertising
                                                                28   campaigns, which included running deceptive ads and cloaking landing pages

                                                                                                               12                               3:19-CV-07971
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 14 of 18



                                                                1    contained in certain ads. As a result of the fraud, Defendants obtained money and
                                                                2    unauthorized use of Facebook, the value of which exceeded $5,000.
                                                                3           67.    Defendants violated 18 U.S.C. § 1030(a)(5)(A) because they knowingly
                                                                4    and intentionally caused the transmission of a program, information, code, or
                                                                5    command and as a result of such conduct intentionally damaged Facebook protected
                                                                6    computers. More specifically, Defendants modified users’ account notification
                                                                7    settings to prevent users from receiving a notification that their Facebook accounts
                                                                8    were being used without authorization and that they were being used to run
                                                                9    advertisements.
                                                                10          68.    Defendants violated 18 U.S.C. § 1030(b) by attempting and conspiring to
                                                                11   commit the violations alleged in the preceding paragraph.
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                                                                12          69.    Defendants’ conduct caused a loss to Facebook of at least $5,000 during
                                                                13   a one-year period.
                                                                14          70.    Defendants’ actions caused Facebook to incur a loss and suffer damages
                                                                15   as defined by 18 U.S.C. § 1030(e)(8) and (11), including the expenditure of resources
                                                                16   to investigate and respond to Defendants’ fraudulent scheme in an amount to be
                                                                17   proven at trial.
                                                                18          71.    Defendants continue to promote their malware online and Facebook has
                                                                19   no adequate remedy at law that would prevent Defendants from continuing their
                                                                20   unlawful scheme. Permanent injunctive relief is therefore warranted.
                                                                21                              FOURTH CAUSE OF ACTION
                                                                22                                    (Unjust Enrichment)
                                                                23          72.    Facebook realleges and incorporates all preceding paragraphs.
                                                                24          73.    Defendants’ unjustly enriched themselves at Facebook’s expense.
                                                                25          74.    Defendants accessed and used Facebook’s platform and computer
                                                                26   network without authorization or permission.
                                                                27          75.    Defendants used Facebook’s platform and computer network to, among
                                                                28   other things, defraud and deceive users, interfere with Facebook’s operation, platform,

                                                                                                               13                              3:19-CV-07971
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 15 of 18



                                                                1    and computer network, and wrongfully obtain money through their advertising
                                                                2    scheme.
                                                                3          76.    Defendants received a benefit by profiting from their unauthorized use of
                                                                4    Facebook’s platform and computer network.
                                                                5          77.    Defendants’ retention of the profits derived from their unauthorized use
                                                                6    of Facebook’s platform and computer network would be unjust.
                                                                7          78.    Defendants’ unauthorized use of Facebook’s platform and computer
                                                                8    network has injured Facebook’s reputation, public trust, and goodwill.
                                                                9          79.    Defendants’ unauthorized use of Facebook’s platform and computer
                                                                10   network damaged Facebook, including but not limited to the time and money spent
                                                                11   investigating and mitigating Defendants’ unlawful conduct.
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                                                                12         80.    Facebook seeks injunctive relief and damages in an amount to be proven
                                                                13   at trial, as well as disgorgement of Defendants’ ill-gotten profits in an amount to be
                                                                14   determined at trial.
                                                                15         81.    As a direct result of Defendants’ unlawful actions, Facebook has suffered
                                                                16   and continues to suffer irreparable harm for which there is no adequate remedy at law,
                                                                17   and which will continue unless Defendants’ actions are enjoined.
                                                                18                                 REQUEST FOR RELIEF
                                                                19         WHEREFORE, Plaintiff Facebook requests judgment against Defendants as
                                                                20   follows:
                                                                21         1.     That the Court enter judgment against Defendants that Defendants have:
                                                                22               a.     Violated the Computer Fraud and Abuse Act, in violation of
                                                                23                      18 U.S.C. 1030;
                                                                24               b.     Violated the California Comprehensive Computer Data Access and
                                                                25                      Fraud Act, in violation of California Penal Code § 502;
                                                                26               c.     Breached their contract with Facebook in violation of California
                                                                27                      law; and
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                            Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 16 of 18



                                                                1                 d.    Been unjustly enriched at the expense of Facebook in violation of
                                                                2                       California law.
                                                                3            2.   That the Court enter a permanent injunction enjoining and restraining
                                                                4    Defendants and their agents, employees, successors, and assigns, and all other persons
                                                                5    acting in concert with or conspiracy with him or affiliated with Defendants from:
                                                                6                 a.    Accessing or attempting to access Facebook’s platform and
                                                                7                       computer systems;
                                                                8                 b.    Engaging in any activity that disrupts, diminishes the quality of,
                                                                9                       interferes with the performance of, or impairs the functionality of
                                                                10                      Facebook’s platform and computer system, including developing
                                                                11                      malware that targets Facebook;
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                                                                12                c.    Engaging in any activity, or facilitating others to do the same, that
                                                                13                      violates Facebook’s Terms and Advertising Policies, including the
                                                                14                      use of cloaking software to circumvent Facebook’s ad review
                                                                15                      process; and
                                                                16                d.    Engaging in activity that violates the Computer Fraud and Abuse
                                                                17                      Act (18 U.S.C. § 1030) or the California Comprehensive Computer
                                                                18                      Data Access and Fraud Act (California Penal Code § 502).
                                                                19           3.   That Facebook be awarded damages, including, but not limited to,
                                                                20   compensatory, statutory, and punitive damages, as permitted by law and in such
                                                                21   amounts to be proven at trial.
                                                                22           4.   That Facebook be awarded a recovery in restitution equal to any unjust
                                                                23   enrichment enjoyed by Defendants in an amount to be determined at trial.
                                                                24           5.   That Facebook be awarded its reasonable costs, including reasonable
                                                                25   attorneys’ fees.
                                                                26           6.   That Facebook be awarded pre- and post-judgment interest as allowed by
                                                                27   law.
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                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 17 of 18



                                                                1          That the Court grant all such other and further relief as the Court may deem just
                                                                2    and proper.
                                                                3
                                                                4    Dated: December 5, 2019                     HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                  By:        /s/ Ann Marie Mortimer
                                                                7                                                           Ann Marie Mortimer
                                                                                                                            Jason J. Kim
                                                                8                                                           Jeff R. R. Nelson
                                                                9                                                        Attorneys for Plaintiff
                                                                                                                         FACEBOOK, INC.
                                                                10
                                                                                                                            Platform Enforcement and
                                                                11                                                          Litigation
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                                                                12                                                          Facebook, Inc.
                                                                                                                            Jessica Romero
                                                                13                                                          Michael Chmelar
                                                                14                                                          Nikkya Williams
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                                                                                              COMPLAINT; DEMAND FOR JURY TRIAL
                                                                            Case 3:19-cv-07971-SK Document 1 Filed 12/05/19 Page 18 of 18



                                                                1                                          JURY TRIAL DEMAND
                                                                2            Plaintiff hereby demands a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: December 5, 2019                             HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                          By:        /s/ Ann Marie Mortimer
                                                                7                                                                   Ann Marie Mortimer
                                                                                                                                    Jason J. Kim
                                                                8                                                                   Jeff R. R. Nelson
                                                                9                                                                Attorneys for Plaintiff
                                                                                                                                 FACEBOOK, INC.
                                                                10
                                                                                                                                    Platform Enforcement and
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                                                                                                        COMPLAINT; DEMAND FOR JURY TRIAL
